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                                                                                 2021 Jun-08 AM 08:43
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

KEVIN WISTOFT,                             )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )   Case No. 2:20-cv-01497-AMM-JHE
                                           )
KAY IVEY,                                  )
                                           )
       Defendant.                          )

                          MEMORANDUM OPINION
      The magistrate judge filed a report on May 10, 2021, recommending this

action be dismissed without prejudice for failing to state a claim upon which relief

can be granted, pursuant to 28 U.S.C. § 1915A(b). Doc. 10. Although the magistrate

judge advised the plaintiff of his right to file specific written objections within

fourteen days, no objections have been received by the court.

      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the magistrate judge’s report is

hereby ADOPTED and the recommendation is ACCEPTED. Therefore, in

accordance with 28 U.S.C. § 1915A(b), this action is due to be dismissed without

prejudice for failing to state a claim upon which relief can be granted.

      A Final Judgment will be entered.
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DONE and ORDERED this 8th day of June, 2021.



                           _________________________________
                           ANNA M. MANASCO
                           UNITED STATES DISTRICT JUDGE




                                2
